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                                                                                                                                                                      Master Service List
                                                                                                                                                                    Case No. 17-03283 (LTS)



                            DESCRIPTION                                             NAME                            NOTICE NAME                        ADDRESS 1                   ADDRESS 2                CITY         STATE     POSTAL CODE   COUNTRY      PHONE          FAX                        EMAIL

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                                                                                                                                                                      Master Service List
                                                                                                                                                                    Case No. 17-03283 (LTS)



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                                                                                                                                                                  Case No. 17-03283 (LTS)



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                                                                                                                                                        In re: The Commonwealth of Puerto Rico, et al.
                                                                                                                                                                      Master Service List
                                                                                                                                                                    Case No. 17-03283 (LTS)



                             DESCRIPTION                                           NAME                           NOTICE NAME                         ADDRESS 1                   ADDRESS 2                  CITY        STATE     POSTAL CODE   COUNTRY      PHONE          FAX                        EMAIL
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                                                                                                                                                                        Case No. 17-03283 (LTS)



                             DESCRIPTION                                                  NAME                          NOTICE NAME                        ADDRESS 1                  ADDRESS 2                   CITY        STATE     POSTAL CODE   COUNTRY      PHONE           FAX                        EMAIL
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                                                                  Case:17-03283-LTS Doc#:17119-1 Filed:06/21/21 Entered:06/21/21 11:41:12                                                                                                                  Desc:
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                                                                                                                                                                   Case No. 17-03283 (LTS)



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                                                                                                                                                        In re: The Commonwealth of Puerto Rico, et al.
                                                                                                                                                                      Master Service List
                                                                                                                                                                    Case No. 17-03283 (LTS)



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                                                                                                                                                     In re: The Commonwealth of Puerto Rico, et al.
                                                                                                                                                                   Master Service List
                                                                                                                                                                 Case No. 17-03283 (LTS)



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                                                                                                                                                                     Case No. 17-03283 (LTS)



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                                                                                                                                                                    Master Service List
                                                                                                                                                                  Case No. 17-03283 (LTS)



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                                                                                                                                                                 Case No. 17-03283 (LTS)



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                                                                                                                                                                 Case No. 17-03283 (LTS)



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Comprised by his heirs, Raymond Armando Negrón López and Alondra
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                            DESCRIPTION                                              NAME                           NOTICE NAME                         ADDRESS 1                     ADDRESS 2               CITY        STATE     POSTAL CODE   COUNTRY      PHONE          FAX                        EMAIL
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                              DESCRIPTION                                             NAME                       NOTICE NAME                        ADDRESS 1                  ADDRESS 2                    CITY        STATE     POSTAL CODE   COUNTRY      PHONE          FAX                        EMAIL

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                             DESCRIPTION                                          NAME                             NOTICE NAME                         ADDRESS 1                   ADDRESS 2                  CITY        STATE     POSTAL CODE      COUNTRY      PHONE           FAX                          EMAIL
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                                                                                                                                                                   Master Service List
                                                                                                                                                                 Case No. 17-03283 (LTS)



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                                                                                                                                                           Case No. 17-03283 (LTS)



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